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                                                                          5                               IN THE UNITED STATES DISTRICT COURT
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                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
                                                                          8
                                                                          9   WAYMO LLC,                                                   No. C 17-00939 WHA
                                                                         10                  Plaintiff,
                                                                         11
United States District Court




                                                                                v.
                                                                         12                                                                ORDER ON DAUBERT
                               For the Northern District of California




                                                                              UBER TECHNOLOGIES, INC.;                                     MOTION RE LAMBERTUS
                                                                         13   OTTOMOTTO LLC; and OTTO                                      HESSELINK
                                                                              TRUCKING LLC,
                                                                         14                  Defendants.
                                                                         15                                               /

                                                                         16          After two continuances of the trial date and in advance of the third final pretrial
                                                                         17   conference in this action for trade secret misappropriation, this order GRANTS IN PART and
                                                                         18   DENIES IN PART defendants’ Daubert motion to exclude plaintiff’s technical expert.
                                                                         19          Defendants Uber Technologies, Inc., and Ottomotto LLC (collectively, “Uber”) move to
                                                                         20   exclude plaintiff Waymo LLC’s technical expert Lambertus Hesselink from opining about
                                                                         21   (1) Waymo’s saved development time estimates for alleged trade secret numbers 25, 90, and
                                                                         22   111, and (2) Waymo’s “bottleneck” theory for all alleged trade secrets (Dkt. No. 2202).
                                                                         23          With respect to saved development time estimates for alleged trade secret numbers 25,
                                                                         24   90, and 111, the relevant paragraphs of Hesselink’s report are reproduced here in full (Dkt. No.
                                                                         25   2201-4 (citations omitted)):
                                                                         26                   455. With regards to Trade Secret No. 25, I understand that
                                                                         27                   Waymo’s specific testing parameters and scenarios are derived
                                                                                              from test data accumulated from millions of miles driven by test
                                                                         28                   vehicles over at least a two year period. This evidence is
                                                                                              consistent with my expectation from reviewing the documentation
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                                                                          1                  relevant to Trade Secret No. 25, which involves a sophisticated set
                                                                                             of sensing parameters relating to a carefully selected set of
                                                                          2                  important “use cases” that are most likely to drive the overall
                                                                                             LiDAR design. It is my opinion that a similarly comprehensive set
                                                                          3                  of self-driving parameters could only be independently derived if
                                                                                             Defendants had undertaken the same years of testing and millions
                                                                          4                  of test miles driven. Thus, it is my opinion that Defendants’
                                                                                             misappropriation of Trade Secret No. 25 saved them at least 2
                                                                          5                  years of development time in their self-driving vehicle program[.]
                                                                          6                  456. With regards to Trade Secret No. 111, I understand that
                                                                                             Waymo and its predecessor 510 Systems devoted at least 1 year in
                                                                          7                  ruling out                                    LiDAR system for
                                                                                             medium-/long-range sensing. This is consistent with my
                                                                          8                  expectation in the field where, as discussed above, there is no
                                                                                             settled approach to the design of medium-/long-range LiDAR
                                                                          9                  sensor design, and I would expect a company independently
                                                                                             developing technology to have to eliminate certain design options
                                                                         10                  through the trial-and-error process. Thus, it is my opinion that
                                                                                             Defendants’ misappropriation of Trade Secret No. 111, and their
                                                                         11                  immediate pivot to exactly the “right” architecture for the Fuji
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                                                                                             design, saved Defendants at least 1 year of development time in
                                                                         12                  their self-driving vehicle program.
                               For the Northern District of California




                                                                         13                  457. With regards to Trade Secret No. 90, as discussed above,
                                                                                             Defendants’ [sic] accelerated their knowledge of fiber-laser
                                                                         14                  technology by acquiring Tyto LiDAR in the Spring of 2016. For
                                                                                             several years prior to this, Tyto LiDAR — at the direction of
                                                                         15                  Anthony Levandowski — exploited Waymo’s trade secret
                                                                                             information regarding fiber laser technology in order to create a
                                                                         16                  lower cost design for their “Owl” device. For example, at least by
                                                                                             November 2013, Tyto LiDAR had “defined a plan to reduce the
                                                                         17                  cost of the fiber laser and bring the BOM cost down to $9,500 by
                                                                                             January 2014.” Tyto’s continued work on lowering the cost of its
                                                                         18                  own, custom-built fiber laser from late 2013 until its acquisition by
                                                                                             Ottomotto in May 2016 further enhanced Tyto’s value to
                                                                         19                  Defendants. It is therefore my opinion that the 2 year, 5 month
                                                                                             period of time spent by Tyto exploiting Waymo’s Trade Secret No.
                                                                         20                  90 is a reasonable approximation of the time saved by Defendants
                                                                                             in not having to independently develop their own fiber laser
                                                                         21                  technology from the ground up.
                                                                         22          As Uber points out, the foregoing portions of Hesselink’s report essentially amounted to
                                                                         23   a black box. Hesselink simply recited fact evidence of how much time Waymo supposedly
                                                                         24   spent developing alleged trade secret numbers 25 and 111, and how much time Tyto supposedly
                                                                         25   spent exploiting alleged trade secret number 90, then concluded with no discernible analysis or
                                                                         26   reasoning whatsoever that Uber saved at least that much time in its own development efforts.
                                                                         27   To give just one non-exhaustive example, Hesselink made no attempt to explain why Waymo,
                                                                         28   Uber, and Tyto — three very different companies with different resources, personnel, and


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                                                                          1    development plans — would necessarily take the same amount of time to develop the same
                                                                          2    technology. His conclusions amounted to attorney argument, not expertise.*
                                                                          3                Hesselink came closest to bridging the gap between his data and opinions in Paragraphs
                                                                          4    455 and 456, where he injected conclusory assertions that the amount of time supposedly
                                                                          5    invested by Waymo in alleged trade secret numbers 25 and 111 comported with his
                                                                          6    expectations. Such bald assertions, however, constitute mere ipse dixit and fall well short of the
                                                                          7    reliability required by Federal Rule of Evidence 702. See Daubert v. Merrell Dow Pharms.,
                                                                          8    Inc., 509 U.S. 579, 589–95 (1993); Gen. Elec. Co. v. Joiner, 522 U.S. 136, 146 (1997).
                                                                          9    Because Hesselink failed to provide a reliable foundation for his opinions on saved
                                                                         10    development time estimates for alleged trade secret numbers 25, 90, and 111, and because there
                                                                         11    was simply too great an analytical gap between the data he cited and the opinions he proffered,
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                                                                         12    those opinions will be excluded.
                               For the Northern District of California




                                                                         13                With respect to the “bottleneck” theory, the relevant paragraphs of Hesselink’s reply
                                                                         14    report are reproduced here in full (Dkt. No. 2201-5 (citations omitted)):
                                                                         15                        282. Dr. Lebby opines that the proposed re-designs would not
                                                                                                   result in a delay to Uber’s overall self-driving car effort. I
                                                                         16                        disagree. It is my opinion that the re-design times proposed by
                                                                                                   Defendants will at least result in an equivalent schedule impact to
                                                                         17                        Defendants’ overall self-driving car program. In other words,
                                                                                                   every day of re-design time proposed by Defendants will result in a
                                                                         18                        minimum of a day of delay in Defendants [sic] overall self-driving
                                                                                                   car technology, and most likely many more as outlined above in
                                                                         19                        paragraph 281.
                                                                         20                        283. This opinion is based on the importance of the medium-
                                                                                                   range LiDAR solution to the Defendants’ overall self-driving car
                                                                         21                        solution, the fact that any changes in the medium-range LiDAR
                                                                                                   system will impact other aspects of Defendants [sic] self-driving
                                                                         22                        car technology, and the fact that certain aspects of self-driving car
                                                                                                   technology depend on a final LiDAR design, including the
                                                                         23                        software needed to interpret the LiDAR sensor data. For example,
                                                                                                   it would be my expectation that Uber’s proposed re-designs . . .
                                                                         24                        will, in turn, require reconfigurations to the perception software
                                                                                                   that cannot be undertaken until the re-design work is completed.
                                                                         25                        Additionally, re-designing the mechanical design . . . will require
                                                                                                   that the other hardware interfaces be similarly re-designed in order
                                                                         26                        to properly interact with the proposed re-designed components.
                                                                         27
                                                                                       *
                                                                                         Incredibly, Hesselink’s curriculum vitae, in a section titled “legal expertise,” boasts, “Over the years
                                                                         28   I have gained a reputation as a worldwide recognized expert on optics and holography. I have been an expert
                                                                              witness in over 15 major case [sic] and I have never lost a case” (Dkt. No. 2239-2 at 15 (emphasis added)).

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                                                                          1          First, Uber complains that this opinion was not adequately disclosed in Hesselink’s
                                                                          2   opening report. As the quoted portions show, however, Hesselink proffered the opinion in
                                                                          3   response to a contrary opinion by Uber’s expert. Hesselink will therefore be allowed to present
                                                                          4   his opinion at trial, but only on rebuttal after Lebby opines to the contrary. Second, Uber
                                                                          5   contends Hesselink’s analysis was “conclusory, methodologically unsound, and unreliable.”
                                                                          6   This order disagrees. Hesselink adequately explained his reasoning for why, due to the
                                                                          7   interlocking nature of self-driving car development, re-design of LiDAR components would
                                                                          8   have a ripple effect that would delay the overall development timeline. Uber’s arguments that
                                                                          9   Hesselink’s reasoning was flawed and his conclusion was incorrect may have merit but go to
                                                                         10   the weight of his testimony, not to its admissibility. Third, Uber contends “an optical engineer
                                                                         11   who has never worked on self-driving cars . . . is not qualified to offer such an opinion.” But
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                                                                         12   Hesselink’s “bottleneck” opinion did not exceed the scope of his optical engineering
                               For the Northern District of California




                                                                         13   qualifications and was not so specialized that only an expert who personally worked on self-
                                                                         14   driving cars could render it. Again, Uber’s criticism goes to the weight of Hesselink’s
                                                                         15   testimony, not to its admissibility.
                                                                         16          As stated herein, Uber’s motion is GRANTED IN PART and DENIED IN PART. Hesselink
                                                                         17   will be permitted to testify on rebuttal about his “bottleneck” theory but will not be permitted to
                                                                         18   opine on saved development time estimates for alleged trade secret numbers 25, 90, and 111.
                                                                         19
                                                                         20          IT IS SO ORDERED.
                                                                         21
                                                                         22   Dated: January 18, 2018.
                                                                                                                                       WILLIAM ALSUP
                                                                         23                                                            UNITED STATES DISTRICT JUDGE
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